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                      IN THE UNITED STATES DISTRICT COURT
                                    FOR THE
                      DISTRICT OF THE DISTRICT OF COLUMBIA

  UNITED STATES,

        vs                                               Civ. Action No. 21-cr-038

  RICHARD BARNETT,
                               Defendant.


                                   NOTICE OF ERRATA

      Undersigned counsel files this Notice of Errata for Defendant’s Brief in Opposition to the

Government’s Omnibus Motion in Limine (ECF No. 76).

   1. In the Brief’s title on page 1, the word “Limin” should be replaced with the word

      “Limine.”

   2. The Section titled “Conclusion” on page 11 was accidently copied from another motion

      filed at approximately the same time, and should be replaced in its entirety and should

      read instead:

“WHEREFORE, Defendant Richard Barnett respectfully requests that the Government’s

Omnibus Motion in Limine should be DENIED in its entirety.”

DATED: September 23, 2022                   Respectfully submitted,

                                            /s/ Joseph D. McBride, Esq
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                               CERTIFICATE OF SERVICE

       I hereby certify on the 23rd day of September 2022, a copy of the foregoing was served

upon all parties as forwarded through the Electronic Case Filing (ECF) System.


                                  /s/ Joseph D. McBride, Esq.
                                    Joseph D. McBride, Esq.
